 Case 2:24-mj-01042-DAO         Document 1       Filed 10/23/24   PageID.1   Page 1 of 6




TRINA A. HIGGINS, United States Attorney (#7349)
CARL D. LESUEUR, Assistant United States Attorney (#16087)
Attorneys for the United States of America
Office of the United States Attorney
111 South Main Street, Suite 1800
Salt Lake City, Utah 84111-2176
Telephone: (801) 524-5682
Email: carl.lesueur@usdoj.gov

                         IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF UTAH


  UNITED STATES OF AMERICA,
                                                  Case No. 2:24mj1042-DAO
           Plaintiff,

           vs.                                   FELONY CRIMINAL COMPLAINT

  AARON A. WAGNER,

           Defendant.                            Judge Daphne A. Oberg


      Before the Honorable Daphne A. Oberg, United States Magistrate Judge for the

District of Utah, appeared the undersigned, who on oath deposes and says:


                                        COUNT I
                                     18 U.S.C. § 1343
                                      (Wire Fraud)

      1.         THE SCHEME. From on or about a date believed to be no later than

August 1, 2021 to on or about a date believed to be no earlier than September 27, 2024,

defendant AARON A. WAGNER devised and intended to devise a scheme to defraud

private investors and lenders in restaurant businesses managed by WagsCap Food


                                             1
 Case 2:24-mj-01042-DAO        Document 1        Filed 10/23/24   PageID.2    Page 2 of 6




Services, LLC and other related entities, and to obtain money and property by means of

materially false and fraudulent pretenses, representations and promises to those investors.

       2.     MANNER AND MEANS. It was part of the scheme that AARON A.

WAGNER, and those acting at his direction:

                     a)      would offer an investment or loan with a pitch describing a
              restaurant or real estate project needing funding;

                     b)     would show off to investors in person and in promotional
              materials WAGNER’s own lavish lifestyle (including personal jets, exotic
              vehicles, luxury vacations, etc.) to induce investors to believe that he was a
              successful businessman; all without disclosing that many of these indicators
              of success were in fact financed by investor funds he had stolen from the
              very businesses they were meant to support;

                    c)     would provide prospective investors or lenders false
              information about the scope and success of his and WagsCap’s past
              business ventures;

                     d)     would falsely represent and agree that the funds would be
              used for investment in specific restaurants or real estate projects;

                     e)     would form entities for each of the projects;

                      f)    upon receiving investor funds, would divert the funds to other
              uses, including personal expenses and other projects;

                     g)     would repeatedly raise investment or loan funds for new
              projects with new groups of investors or lenders;

                      h)     would divert funds raised from a new group of investors for
              one project to fund a separate, failing project for an earlier group of
              investors that included himself or his own entities, in order to conceal the
              fact that he had already squandered or diverted the investors’ money and to
              conceal from them the fact that the funds were actually from a new or
              different investor group;

                     i)      for projects that were successful, would embezzle operating
              funds, artificially inflate the business expenses to cover their


                                             2
 Case 2:24-mj-01042-DAO        Document 1       Filed 10/23/24   PageID.3    Page 3 of 6




             embezzlement, and distribute to the partners only those profits remaining
             after the inflated business expenses;

                    j)     would move funds freely among all of the different
             investment projects’ accounts and his own assets and accounts, for the
             purposes of concealing the fact that he had already diverted and squandered
             investors’ funds;

                    k)     would manage the projects and the books, knowing and
             intending to help deceive and defraud the investors; and

                    l)    would conceal and perpetuate the scheme by silencing critics
             and using deceptive means to disable and remove their social media
             accounts.

      3.     On or about December 6, 2021 in the District of Utah and elsewhere,

                                 AARON A. WAGNER,

the defendant herein, for the purpose of executing the scheme described above, and

attempting to do so, caused to be transmitted by means of wire communication in

interstate commerce a wire transfer of $2,000,000 from a bank account in Nebraska to a

bank account in Utah ending in x5451, all in violation of 18 U.S.C. §§ 1343 and 2.



    This complaint is made on the basis of investigation consisting of the following:

      4.     I am a Special Agent with the FBI in Salt Lake City, Utah. I have been an

FBI Special Agent since 2014. In my capacity as a Special Agent with the FBI, I have

conducted and participated in numerous official investigations into mail and wire fraud,

money laundering and other financial and computer crimes as well as drug trafficking

crimes. I am a graduate of the FBI Training Academy in Quantico, Virginia and have

also attended training classes in the investigation of financial crimes. As an FBI Special

                                            3
 Case 2:24-mj-01042-DAO         Document 1        Filed 10/23/24   PageID.4     Page 4 of 6




Agent, I am familiar with the use of financial accounts by those who operate fraudulent

schemes and the types of transactions reflected on financial account records. I am also

familiar with the principles of tracing assets into and through financial accounts,

including the subsequent purchase of property using the originally traced assets.

       5.     The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from other agents and witnesses. This affidavit

is intended to show merely that there is sufficient probable cause for the requested

complaint and warrant and does not set forth all of my knowledge about this matter.

Based on my training and experience and the facts as set forth in this affidavit, there is

probable cause to believe AARON A. WAGNER has engaged in a wire fraud in violation

of 18 U.S.C. § 1343.

       6.     I interviewed an investor who indicated that, in December 2021, WAGNER

raised $2,000,000 from a Nebraska investment group headed by this investor. The funds

were to be used to build Hello Sugar restaurant locations. I reviewed a copy of a

subscription agreement that appeared to be signed by WAGNER confirming that this was

the authorized use of these funds.

       7.     Bank records and title company records indicate that, a couple weeks later,

WAGNER used the funds instead to purchase an airplane for WCFS Travel. Specifically,

the bank records indicate the funds were wired on December 6, 2021 from a West Gate

Bank account in Nebraska to a US Bank account in Utah under the name Sugar Group X

LLC with an account number ending in x5451. On December 20, 2021, these funds were

                                              4
 Case 2:24-mj-01042-DAO        Document 1        Filed 10/23/24   PageID.5    Page 5 of 6




used to wire $400,000 from account x5451 to an account for WagsCap Food Services,

LLC at US Bank with an account number ending in x7979. Prior to receiving these wires,

the balance in account x7979 was approximately $75,000. These funds were used that

same day to wire from account x7979 payment of $300,000 to an aircraft title company.

That company provided a closing statement indicating this was a payment applied toward

the purchase of an aircraft for WCFS Travel, LLC.

       8.     I reviewed records WAGNER provided as part of the purchase documents,

indicating WAGNER is the sole member of WCFS Travel. The closing documents

indicate the total value of the plane was approximately $8.39 million, $6 million of which

was financed through bank lending. Most of the remaining $2.39 million in funds applied

toward the purchase were traced through bank records I reviewed. The funds came almost

entirely from accounts for investments in the restaurants Hello Sugar, Las Botellas, and

Dirty Bird.

       9.     The interviewed Hello Sugar investor indicated he was not aware of and did

not approve the purchase of an airplane with the investment funds. In short, WAGNER

used a portion of the Hello Sugar investors’ $2 million to acquire an airplane for himself,

and it appears the Hello Sugar investors received nothing.

       10.    We obtained records indicating the airplane was sold less than a year later.

An analysis of the bank records indicates that none of the proceeds were returned to the

Hello Sugar investor fund.



                                             5
 Case 2:24-mj-01042-DAO         Document 1       Filed 10/23/24   PageID.6   Page 6 of 6




      Based on the foregoing information, your affiant respectfully requests that

warrant’s of arrest be issued for AARON A. WAGNER for violations of 18 U.S.C.

§ 1343.




Affiant,
Special Agent BRAD SIMONS

                                        23rd
SUBSCRIBED AND SWORN to before me this ________ day of October, 2024.


Daphne A. Oberg
United States MagistrateJudge

APPROVED:

TRINA A. HIGGINS
United States Attorney


CARL D. LESUEUR
Assistant United States Attorney




                                             6
